Case 5:05-cr-50073-SMH-MLH   Document 56   Filed 04/03/06   Page 1 of 5 PageID #:
                                   151
Case 5:05-cr-50073-SMH-MLH   Document 56   Filed 04/03/06   Page 2 of 5 PageID #:
                                   152
Case 5:05-cr-50073-SMH-MLH   Document 56   Filed 04/03/06   Page 3 of 5 PageID #:
                                   153
Case 5:05-cr-50073-SMH-MLH   Document 56   Filed 04/03/06   Page 4 of 5 PageID #:
                                   154
Case 5:05-cr-50073-SMH-MLH   Document 56   Filed 04/03/06   Page 5 of 5 PageID #:
                                   155
